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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

RONALD ALLEN WRIGHT,                            Civil No. 3:25-cv-275

                    Petitioner                  (Judge Mariani)

      V.

WARDEN J. GREENE,

                    Respondent

                          >--/2         ORDER

      AND NOW, this --=---
                         1 day of March, 2025, upon preliminary review of the petition

for writ of habeas corpus pursuant to 28 U.S.C. § 2241 (Doc. 1), see R. GOVERNING § 2254

CASES R. 4, 1(b), and for the reasons set forth in the accompanying Memorandum, IT IS

HEREBY ORDERED THAT:

      1.     The petition for writ of habeas corpus (Doc. 1) is DISMISSED.

      2.     The Clerk of Court is directed to CLOSE this case.




                                                                              F




                                         United States District Judge
